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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :       Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                                  Case No. 19-[_____] (___)
                                                               :
                           Debtors. 1                          :       (Joint Administration Pending)
                                                               :
---------------------------------------------------------------X

      APPLICATION OF DEBTORS FOR ENTRY OF ORDER ESTABLISHING
    DEADLINE FOR FILING PROOFS OF CLAIM AND PROCEDURES RELATING
     THERETO AND APPROVING FORM AND MANNER OF NOTICE THEREOF

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

                    Ditech Holding Corporation (f/k/a Walter Investment Management Corp.) and its

debtor affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”), respectfully represent as follows in support of this application (the

“Application”):


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
      Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
      Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
      Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
      Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
      (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
      Drive, Suite 100, Fort Washington, Pennsylvania 19034.




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                                                  Background

                    1.        On the date hereof (the “Commencement Date”), the Debtors each

commenced with this Court a voluntary case under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”). The Debtors are authorized to continue to operate their business and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been appointed

in these chapter 11 cases.

                    2.        Contemporaneously herewith, the Debtors have filed a motion requesting

joint administration of their chapter 11 cases pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

                    3.        The Debtors commenced these chapter 11 cases on a prearranged basis with

the support of more than 75% percent of their term loan lenders, who have committed to support

a value-maximizing chapter 11 plan that contemplates a debt-to-equity recapitalization transaction

and provides for the simultaneous marketing of all or substantially all of the Debtors’ assets to the

extent such sale represents a higher or better value than the recapitalization transaction. Consistent

with their obligations under that certain Restructuring Support Agreement, dated as of February 8,

2019, the Debtors intend to file a proposed plan of reorganization shortly hereafter and will seek

to emerge from chapter 11 on an expedited timeframe.

                    4.        Additional information regarding the Debtors’ business, capital structure,

and the circumstances leading to the commencement of these chapter 11 cases is set forth in the

Declaration of Gerald A. Lombardo Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for

the Southern District of New York, sworn to on the date hereof (the “Lombardo Declaration”),




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which has been filed with the Court contemporaneously herewith and is incorporated herein by

reference. 2

                                                   Jurisdiction

                    5.        The Court has jurisdiction to consider this matter pursuant to

28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference M-431, dated January

31, 2012 (Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               Relief Requested

                    6.        By this Application, pursuant to section 502(b)(9) of the Bankruptcy Code,

Bankruptcy Rules 2002 and 3003(c)(3), Rule 3003-1 of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”), and the United States Bankruptcy Court for

the Southern District of New York Procedural Guidelines for Filing Requests for Orders to Set the

Last Date for Filing Proofs of Claim (the “Guidelines”), the Debtors request entry of an order,

substantially in the form annexed hereto as Exhibit A (the “Proposed Order”):

                    (a)       establishing April 1, 2019 at 5:00 p.m. (Prevailing Eastern Time) as the
                              deadline for each person (as defined in section 101(41) of the Bankruptcy
                              Code), excluding governmental units (as defined in section 101(27) of the
                              Bankruptcy Code, the “Governmental Units”), to file a proof of claim
                              (each, a “Proof of Claim”) in respect of a claim (as defined in section
                              101(5) of the Bankruptcy Code) against the Debtors which arose on or prior
                              to the Commencement Date, including, for the avoidance of doubt, secured
                              claims, priority claims, and claims arising under section 503(b)(9) of the
                              Bankruptcy Code (such deadline, the “General Bar Date”);

                    (b)       establishing August 10, 2019 at 5:00 p.m. (Prevailing Eastern Time) as
                              the deadline for Governmental Units to file a Proof of Claim in respect of a
                              prepetition claim against the Debtors (such deadline, the “Governmental
                              Bar Date”);



2
      Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
      terms in the Lombardo Declaration.



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                    (c)       establish the later of (i) the General Bar Date or the Governmental Bar
                              Date, as applicable and (ii) 5:00 p.m. (Prevailing Eastern Time) on the
                              date that is 30 days from the date on which the Debtors provide notice
                              of previously unfiled Schedules (as defined herein) or an amendment
                              or supplement to the Schedules as the deadline by which claimants
                              holding claims affected by such filing, amendment or supplement must file
                              Proofs of Claim with respect to such claim (the “Amended Schedules Bar
                              Date”);

                    (d)       establish the later of (i) the General Bar Date or the Governmental Bar
                              Date, as applicable, and (ii) 5:00 p.m. (Prevailing Eastern Time) on the
                              date that is 30 days following service of an order approving rejection of
                              any executory contract or unexpired lease of the Debtors as the deadline
                              by which claimants asserting claims resulting from the Debtors’ rejection
                              of an executory contract or unexpired lease must file Proofs of Claim for
                              damages arising from such rejection (the “Rejection Damages Bar Date”
                              and, together with the General Bar Date, the Governmental Bar Date, and
                              the Amended Schedules Bar Date, the “Bar Dates”);

                    (e)       approving the proposed procedures for filing Proofs of Claim;

                    (f)       approving the proposed procedures for notice of the Bar Dates, including
                              the form of notice substantially in the form annexed as Exhibit 1 to the
                              Proposed Order (the “Bar Date Notice”); and

                    (g)       approving the proposed Proof of Claim form (the “Claim Form”),
                              substantially in the form annexed as Exhibit 2 to the Proposed Order.

                                           The Proposed Bar Dates

          A. Summary

                    7.        Bankruptcy Rule 3003(c)(3) provides that the Court shall fix the time within

which Proofs of Claim may be filed. Moreover, Bankruptcy Rule 3003(c)(2) provides that any

creditor whose claim (a) is not scheduled in the Debtors’ schedules of assets and liabilities (the

“Schedules”) or (b) is scheduled as disputed, contingent, or unliquidated must file a Proof of Claim

by a deadline fixed by the Court. Bankruptcy Rule 3003(c)(2) further provides that “any creditor

who fails to do so shall not be treated as a creditor with respect to such claim for the purposes of

voting and distribution.” Fed. R. Bankr. P. 3003(c)(2).




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                    8.        Here, the Debtors propose to allow at least thirty (30) days’ notice of each

of the General Bar Date, the Amended Schedules Bar Date, and the Rejection Damages Bar Date.

Additionally, the Debtors propose to allow approximately one-hundred and eighty (180) days’

notice of the Governmental Bar Date. The Debtors respectfully submit that the proposed Bar Dates

and the procedures set forth below (the “Procedures”) will provide the Debtors’ creditors adequate

notice and ample opportunity to prepare and file Proofs of Claim.

                    9.        The Local Rules and the Guidelines established by the Board of Judges for

the Southern District of New York (General Order M-386, as amended by General Order M-453)

require that all requests for orders establishing deadlines for filing Proofs of Claim conform

substantially to the standard form of order and notice set forth in the Guidelines.

                    10.       The Debtors believe that thousands of persons, individuals, or entities may

be creditors in these chapter 11 cases. Based on the procedures set forth below (the “Procedures”),

the proposed Bar Dates will give creditors ample opportunity to prepare and file Proofs of Claim.


          B. The General Bar Date

                    11.       The Debtors intend to file their schedules on or about March 11, 2019. The

Debtors request that the Court establish April 1, 2019 at 5:00 p.m. (Prevailing Eastern Time) as

the General Bar Date. The General Bar Date would be the date by which any persons or entity

(including individuals, partnerships, corporations, joint ventures, trusts, but not including

Governmental Units) must file a Proof of Claim in respect of a prepetition claim (as defined in

section 101(5) of the Bankruptcy Code), including secured claims, unsecured priority claims,

unsecured non-priority claims, and claims arising under section 503(b)(9) of the Bankruptcy Code

against any of the Debtors, so that such Proofs of Claim are actually received by Epiq Corporate

Restructuring, LLC, the Debtors’ claims and noticing agent (“Epiq”), on or before the General



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Bar Date, unless such person’s or entity’s claim falls within one of the exceptions set forth in this

Application.


          C. Governmental Bar Date

                    12.       Section 502(b)(9) of the Bankruptcy Code provides that the “claim of a

governmental unit shall be timely filed if it is filed before 180 days after the date of the order for

relief or such later time as the Federal Rules of Bankruptcy Procedure may provide.” 11 U.S.C. §

502(b)(9).

                    13.       The Debtors request that the Court establish August 10, 2019 at 5:00 p.m.

(Prevailing Eastern Time) as the Governmental Bar Date in these chapter 11 cases. The

Governmental Bar Date would apply to all Governmental Units holding claims against the Debtors

(without limitation, whether secured, unsecured priority, or unsecured non-priority) that arose

prior to the Commencement Date, including Governmental Units with claims against the Debtors

for unpaid taxes, whether such claims arose from prepetition tax years or periods or prepetition

transactions to which the Debtors were a party. All Governmental Units holding such claims

against the Debtors would be required to file Proofs of Claim so that such Proofs of Claim are

actually received by Epiq on or before the Governmental Bar Date.


          D. The Amended Schedules Bar Date

                    14.       In the event the Debtors file a previously unfiled Schedule or amend or

supplement their Schedules, the Debtors request that the Court establish the later of (i) the

General Bar Date or the Governmental Bar Date, as applicable, and (ii) 5:00 p.m. (Prevailing

Eastern Time), on the date that is Thirty (30) days from the date on which the Debtors

provide notice of the previously unfiled Schedule or amendment or supplement to the

Schedules, as the deadline on or before which claimants holding claims affected by such filing,



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amendment or supplement must file Proofs of Claim with respect to such claim, so that such Proofs

of Claim are actually received by Epiq on or before the Amended Schedules Bar Date.


          E. The Rejection Damages Bar Date

                    15.        The Debtors request that the Court establish the later of (i) the General

Bar Date or the Governmental Bar Date, as applicable, and (ii) 5:00 p.m. (Prevailing Eastern

Time) on the date that is thirty (30) days following service of an order approving the

rejection of any executory contract or unexpired lease of the Debtors, as the deadline on or

before which claimants holding claims for damages arising from such rejection must file Proofs of

Claim with respect to such rejection, so that such Proofs of Claim are actually received by Epiq on

or before the Rejection Damages Bar Date. Notwithstanding the foregoing, a party to an executory

contract or unexpired lease that asserts a claim on account of unpaid amounts accrued and

outstanding as of the Commencement Date pursuant to such executory contract or unexpired lease

(other than a rejection damages claim) must file a Proof of Claim for such amounts on or before

the General Bar Date, the Governmental Bar Date, or the Amended Schedules Bar Date,

as applicable.

                              The Proposed Procedures for Filing Proofs of Claim

                    16.        The Debtors propose the following Procedures for filing Proofs of Claim:

                    (a)        Proofs of Claim must conform substantially to the Claim Form or Official
                               Bankruptcy Form No. 410 (the “Official Form”);3

                    (b)        Proofs of Claim must be filed electronically through the Epiq’s Proof of
                               Claim website for these cases at http://dm.epiq11.com/Ditech by following
                               instructions for filing proofs of claim electronically; (ii) by mailing the
                               original proof of claim either by U.S. Postal Service mail or overnight
                               delivery to Epiq’s Claims Processing Centers for the Debtors at (x) P.O.

3
      The Official Form can be found at www.uscourts.gov/forms/bankruptcy-forms, the official website for the
      United States Bankruptcy Courts. The Claim Form can be found at http:// http://dm.epiq11.com/Ditech, the
      website established by Epiq for the Debtors’ chapter 11 cases.



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                                Box 4421, Beaverton, OR 97076 or (y) 10300 SW Allen Blvd., Beaverton,
                                OR 97005; or (iii) by delivering the original Proof of Claim by hand to (x)
                                the United States Bankruptcy Court for the Southern District of New York
                                at One Bowling Green, New York, NY 10004-1408 or (y) Epiq’s Claims
                                Processing Center for the Debtors at 10300 SW Allen Blvd., Beaverton, OR
                                97005 or (z) 777 Third Avenue, 12th Floor, New York, NY 10017;

                    (c)         Proofs of Claim will be deemed filed only when received by the Clerk of
                                the Bankruptcy Court or by Epiq on or before the applicable Bar Date;

                    (d)         Proofs of Claim must (i) be signed; (ii) include supporting documentation
                                (if voluminous, attach a summary) or an explanation as to why
                                documentation is not available; (iii) be in the English language and (iv) be
                                denominated in United States currency;

                    (e)         Proofs of Claim must specify by name and case number the Debtor against
                                which the claim is filed. If the holder asserts a claim against more than one
                                Debtor or has claims against different Debtors, a separate Proof of Claim
                                form must be filed with respect to each Debtor except as provided in section
                                11(g)(ix) below. If the holder lists multiple Debtors on the Proof of Claim,
                                then the Debtors will treat such claim as if it is filed against the first listed
                                Debtor. If the holder files a Proof of Claim without identifying a Debtor,
                                such Proof of Claim will be deemed as filed only against Ditech Holding
                                Corporation;

                    (f)         Proofs of Claim sent by facsimile, telecopy, or electronic mail transmission
                                will not be accepted;

                    (g)         The following persons (including, without limitation, individuals,
                                partnerships, corporations, joint ventures, trusts, or Governmental Units)
                                are not required to file a Proof of Claim on or before the applicable Bar
                                Date, solely with respect to the claims described below:

                              (i)        any person or entity that has already filed a Proof of Claim against
                                         the Debtors in the above-captioned cases in a form substantially
                                         similar to the Claim Form or the Official Form and otherwise in
                                         compliance with these Procedures;

                              (ii)       any person or entity whose claim is listed in the Schedules filed by
                                         the Debtors, provided that (x) the claim is not scheduled as
                                         “disputed”, “contingent” or “unliquidated”; and (y) the claimant
                                         does not disagree with the amount, nature and priority of the claim
                                         as set forth in the Schedules; and (z) the claimant does not dispute
                                         that the claim is an obligation of the specific Debtor against which
                                         the claim is listed in the Schedules;




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                              (iii)       any holder of a claim that heretofore has been allowed by order of
                                          the Court;

                              (iv)        any person or entity whose claim has been paid in full by any of the
                                          Debtors;

                               (v)        any holder of a claim for which specific deadlines have previously
                                          been fixed by the Court;

                              (vi)        any Debtor having a claim against another Debtor;

                          (vii)           any holder of a claim that asserts an equity security interest in the
                                          Debtors, which interest is based exclusively upon the ownership of
                                          common or preferred units, membership interests, partnership
                                          interests, or warrants, options, or rights to purchase, sell, or
                                          subscribe to such a security or interest; provided that if any holder
                                          asserts such a claim (as opposed to an ownership interest) against
                                          the Debtors (including a claim relating to an equity interest or the
                                          purchase or sale of such equity interest), a Proof of Claim must be
                                          filed on or before the applicable Bar Date pursuant to the
                                          Procedures;

                         (viii)           any holder of a claim allowable under sections 503(b) and
                                          507(a)(2) of the Bankruptcy Code as an expense of administration
                                          (other than a claim arising under section 503(b)(9) of the
                                          Bankruptcy Code);

                              (ix)        any holder of a claim limited exclusively to the repayment of
                                          principal, interest, fees, expenses, and any other amounts owing
                                          under any agreements governing any notes, bonds, debentures, or
                                          other debt securities (collectively, the “Debt Securities”)
                                          (x) issued by any of the Debtors, (y) secured by assets of any of
                                          the Debtors or agreements with respect to such assets, or (z)
                                          secured by assets leased to any of the Debtors (a “Debt Claim”)
                                          pursuant to an indenture or credit agreement, as applicable
                                          (together, the “Debt Instruments”) if the relevant indenture
                                          trustee, administrative agent, registrar, paying agent, loan or
                                          collateral agent, or any other entity serving in a similar capacity
                                          however designated (each, a “Debt Agent”) under the applicable
                                          Debt Instrument files a single Proof of Claim in the Debtors’ lead
                                          chapter 11 case In re Ditech Holding Corporation (Case No. 19-
                                          ____) (___), on or before the applicable Bar Date, against all
                                          Debtors under the applicable Debt Instrument on account of all
                                          Debt Claims; provided that any holder of a Debt Claim wishing to
                                          assert a claim arising out of or relating to a Debt Instrument, other
                                          than a Debt Claim, must file a Proof of Claim with respect to such



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                                        claim on or before the applicable Bar Date, unless another
                                        exception identified herein applies; provided, further, that in lieu
                                        of attaching voluminous documentation, including documentation
                                        for compliance with Bankruptcy Rule 3001(d), the Debt Agent
                                        under the Debt Instrument may include a summary of the operative
                                        documents with respect to the Debt Claims; or

                              (x)       any person or entity who is not required to file a Proof of Claim
                                        pursuant to a final order approving the Debtors’ Motion for Interim
                                        and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,
                                        364, 507, 546, 548, 555, 559, and 561 (A) Authorizing Debtors to
                                        Enter into Repurchase Agreement Facilities, Servicer Advance
                                        Facilities and Related Documents; (B) Authorizing Debtors to Sell
                                        Mortgage Loans and Servicer Advance Receivables in the
                                        Ordinary Course of Business; (C) Granting Back-Up Liens and
                                        Superpriority Administrative Expense Claims; (D) Authorizing
                                        Use of Cash Collateral and Granting Adequate Protection; (E)
                                        Modifying the Automatic Stay; (F) Scheduling a Final Hearing;
                                        and (G) Granting Related Relief, as may be amended or
                                        superseded from time to time (the “Final DIP Order”).

                               Consequences of Failure to File a Proof of Claim

                    17.        As stated above, Bankruptcy Rule 3003(c)(2) provides that any creditor

whose claim is not scheduled or is scheduled as disputed, contingent, or unliquidated that fails to

file a Proof of Claim by the Bar Date “shall not be treated as a creditor with respect to such claim

for the purposes of voting and distribution.” Fed. R. Bankr. P. 3003(c)(2). Accordingly, the

Debtors request that any holder of a claim against any of the Debtors that is required to file a Proof

of Claim in accordance with the Proposed Order, but fails to do so on or before the applicable Bar

Date, shall (a) be forever barred, estopped, and enjoined from asserting such a claim against the

Debtors, their property, or their estates (or submitting a Proof of Claim with respect thereto) and

(b) not be treated as a creditor with respect to such claim for the purposes of voting and distribution

with respect to any chapter 11 plan or plans of reorganization that may be filed in these chapter 11

cases.




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                                               Notice of the Bar Dates

                    18.          Pursuant to Bankruptcy Rules 2002(a)(7), (f), and (l) and the Guidelines,

the Debtors propose providing notice of the Bar Dates in accordance with the following

procedures:

                    (a)          The Debtors shall cause to be mailed (i) the Claim Form and (ii) the Bar
                                 Date Notice to the following parties, so as to be received at least thirty-five
                                 (35) days prior to the General Bar Date:

                               (i)        the United States Trustee;

                              (ii)        counsel to each official committee;

                              (iii)       all known creditors and other known holders of potential claims
                                          against any of the Debtors’ estates;

                              (iv)        all counterparties to the Debtors’ executory contracts and
                                          unexpired leases at the addresses stated therein or as updated
                                          pursuant to a request by the counterparty or by returned mail from
                                          the post office with a forwarding address;

                               (v)        all parties to pending litigation against the Debtors (as of the date
                                          of the entry of the Proposed Order);

                              (vi)        all parties who have requested notice pursuant to Bankruptcy Rule
                                          2002 (as of the date of the entry of the Proposed Order);

                          (vii)           the Internal Revenue Services for the district in which the case is
                                          pending and, if required by Bankruptcy Rule 2002(j), the
                                          Securities and Exchange Commission and any other required
                                          governmental units (a list of such agencies is available from the
                                          Office of the Clerk of the Court); and

                          (viii)          such additional persons and entities as deemed appropriate by the
                                          Debtors.

                    (b)          With regard to those holders of claims listed in the Schedules, the Debtors
                                 shall mail one or more Claim Forms (as appropriate), indicating on the form
                                 how the Debtors have scheduled such creditor’s claim in the Schedules
                                 (including the identity of the Debtor, the amount of the claim and whether
                                 the claim has been scheduled as contingent, unliquidated or disputed).




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                    (c)       Each Debt Agent, other than the DIP Credit Parties, the Prepetition Repo
                              Facilities Parties, and the Prepetition 1L/2L Parties (each as defined in the
                              Final DIP Order) shall provide to Barclays PLC a list of names and
                              addresses of the record holders of the respect Debt Security for which it
                              serves as Debt Agent within five (5) business days after service on the Debt
                              Agent of the order granting the relief requested herein.

                    19.       The Debtors intend to supplement notice of the Bar Dates by providing

notice by publication consistent with the Guidelines and Bankruptcy Rule 2002(l) (“The court may

order notice by publication if it finds that notice by mail is impracticable or that it is desirable to

supplement the notice.”). Such notice is appropriate for (a) those creditors to whom no other notice

was sent and who are unknown or not reasonably ascertainable by the Debtors; (b) known creditors

with addresses unknown by the Debtors; and (c) creditors with potential claims unknown by the

Debtors. Accordingly, the Debtors propose publishing the Bar Date Notice, with any necessary

modifications for ease of publication, once in the national edition of The New York Times and USA

Today at least twenty-eight (28) days prior to the General Bar Date. The Debtors also request

authority, in their sole discretion, to publish the Bar Date Notice in additional newspapers, trade

journals, or similar publications.

                                               The Bar Date Notice

                    20.       The proposed Bar Date Notice substantially conforms to the form annexed

to the Guidelines. Specifically, the Bar Date Notice notifies parties of:

                    (a)       the Bar Dates;

                    (b)       who must file a Proof of Claim;

                    (c)       the Procedures for filing a Proof of Claim;

                    (d)       the consequences for failing to timely file a Proof of Claim; and

                    (e)       where parties can find additional information.




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                              The Proposed Bar Date and Procedures Are
                        Reasonably Calculated to Provide Due and Proper Notice

                    21.       Bankruptcy Rule 2002(a)(7) requires the Debtors to provide at least twenty-

one (21) days’ notice of the time fixed for filing Proofs of Claim. Bankruptcy Rule 2002(p)(2)

requires at least thirty (30) days’ notice to creditors with a foreign address. The Guidelines provide

that creditors should be given at least thirty-five (35) days’ notice after the mailing date and at

least twenty-eight (28) days’ notice after the publication date.

                    22.       Under the Proposed Order, the Debtors will be providing thirty-five (35)

days’ notice to all known creditors, more than is required under the Bankruptcy Code, the

Bankruptcy Rules, and the Guidelines. If the Court enters the Proposed Order on or about February

18, 2019, which is seven (7) days from the date hereof, Epiq’s mailing would be completed by no

later than February 25, 2019, which is thirty-five (35) days before the proposed General Bar Date

of April 1, 2019. Accordingly, the Debtors submit that the proposed Bar Dates and Procedures

provide sufficient time for all parties in interest, including foreign creditors, if any, to assert their

claims. Furthermore, because the proposed Procedures will provide notice to all known parties in

interest by mail and notice to any unknown parties in interest by publication, the Debtors submit

that the proposed Procedures are reasonably calculated to provide notice to all parties that may

wish to assert a claim in these chapter 11 cases.

                    23.       Epiq will also post the Claim Form, along with instructions for filing Proofs

of Claim, on the website established in these chapter 11 cases (http://dm.epiq11.com/Ditech). The

Bar Date Notices will also provide that the Debtors’ Schedules may be accessed through the same

website or by contacting Epiq at 866-486-4809 (toll free) for U.S.-based parties or +1 503-597-

7698 for international parties or by e-mail at ProjectPhoenix@epiqglobal.com.




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                    24.       Accordingly, the Debtors submit that no further or other notice of the Bar

Dates is necessary and that the proposed Procedures provide due and proper notice of the Bar

Dates.

                              Objections to Claims and Reservations of Rights

                    25.       The Debtors reserve all rights and defenses with respect to any Proof of

Claim, including, among other things, the right to object to any Proof of Claim on any grounds.

The Debtors also reserve all rights and defenses to any claim listed in the Schedules, including,

among other things, the right to dispute any such claim and assert any offsets or defenses thereto.

If the Debtors dispute any claim listed in the Schedules and such claim is not already listed as

disputed, contingent, or unliquidated, the Debtors shall amend their Schedules as appropriate.

                    26.       Furthermore, the Debtors reserve the right to seek a further order of this

Court to fix a deadline by which holders of claims not subject to the Bar Dates must file Proofs of

Claim against the Debtors or be forever barred from doing so.

                    27.       Based on the foregoing, the Debtors submit that the relief requested herein

is necessary and appropriate, is in the best interests of their estates and creditors, and should be

granted in all respects.

                               Notice of this Application and Proposed Order

                    28.       Notice of this Motion has been provided to (i) William K. Harrington, U.S.

Department of Justice, Office of the U.S. Trustee, 201 Varick Street, Room 1006, New York, New

York 10014 (Attn: Greg M. Zipes and Benjamin J. Higgins) (the “U.S. Trustee”); (ii) the Debtors’

five (5) largest secured creditors on a consolidated basis; (iii) the Debtors’ forty (40) largest

unsecured creditors on a consolidated basis; (iv) the Internal Revenue Service; (v) the United

States Attorney’s Office for the Southern District of New York; (vi) counsel to the Prepetition

Term Loan Agent, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York


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10017 (Attn: Brian M. Resnick and Michelle M. McGreal); (vii) counsel to the Term Loan Ad Hoc

Group, Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654 (Attn: Patrick J. Nash

and Gregory F. Pesce); (viii) Wilmington Savings Fund Society, FSB, as trustee under that certain

Indenture for 9.0% Second Lien Senior Subordinated PIK Toggle Notes due 2024, 500 Delaware

Avenue, Wilmington, Delaware 19801 (Attn: Corporate Trust, Walter Investment); (ix) counsel to

the Second Lien Ad Hoc Group, Milbank, Tweed, Hadley & McCloy LLP, 2029 Century Park

East, Los Angeles, California 90067 (Attn: Gregory A. Bray and Melainie K. Mansfield); (x)

counsel to Barclays Bank PLC, as DIP Agent, and Barclays Capital Inc., as DIP lender, Skadden,

Arps, Slate, Meagher & Flom LLP, 4 Times Square, New York, New York 10036 (Attn: Sarah M.

Ward, Mark A. McDermott, and Melissa Tiarks); (xi) counsel to Nomura Corporate Funding

Americas, LLC, Alston & Bird LLP, 90 Park Avenue, 15th Floor, New York, New York 10016

(Attn: Karen Gelernt and Ronald Klein) and Jones Day LLP, 250 Vesey Street, New York, New

York 10281 (Attn: Ben Rosenblum); (xii) the Banks; (xiii) the Securities and Exchange

Commission; (xiv) counsel to Fannie Mae, O’Melveny & Myers LLP, 400 South Hope Street, 18th

Floor, Los Angeles, California 90071 (Attn: Stephen Warren, Jennifer Taylor and Darren Patrick);

(xv) counsel to Freddie Mac, McKool Smith PC, 600 Travis St., Suite 7000, Houston, Texas

77002 (Attn: Paul D. Moak); and (xvi) U.S. Department of Housing and Urban Development, 451

Seventh St., SW, Room 9250, Washington, DC 20410 (Attn: Lisa Mulrain, Assistant General

Counsel, Office of General Counsel, Finance Division) (collectively, the “Notice Parties”). The

Debtors respectfully submit that no further notice is required. No previous request for the relief

sought herein has been made by the Debtors to this or any other Court.




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                    WHEREFORE the Debtors respectfully request entry of the proposed order orders

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: February 11, 2019
New York, New York


                                            /s/ Sunny Singh
                                            WEIL, GOTSHAL & MANGES LLP
                                            767 Fifth Avenue
                                            New York, New York 10153
                                            Telephone: (212) 310-8000
                                            Facsimile: (212) 310-8007
                                            Ray C. Schrock, P.C.
                                            Sunny Singh

                                            Proposed Attorneys for Debtors
                                            and Debtors in Possession




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                                               Exhibit A

                                          Proposed Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :       Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                                  Case No. 19-[_____] (___)
                                                               :
                                      1
                           Debtors.                            :       (Jointly Administered)
                                                               :
---------------------------------------------------------------X

          ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM
          AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

          Upon the application of Ditech Holding Corporation and its debtor affiliates, as debtors

and debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

for an order, pursuant to Federal Rule of Bankruptcy Procedure (the “Bankruptcy Rules”) fixing

deadlines and establishing procedures for filing proofs of claim and approving the form and

manner of service thereof; and it appearing that the relief requested is in the best interests of the

Debtors, their estates, and creditors and that adequate notice has been given and that no further

notice is necessary; and after due deliberation and good and sufficient cause appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.        Except as otherwise provided herein, pursuant to section 502(b)(9) of title 11 of the

United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2002 and 3003(c)(3), Rule 3003-

1 of the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”), and



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
      Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
      Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
      Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
      Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
      (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
      Drive, Suite 100, Fort Washington, Pennsylvania 19034. .




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the United States Bankruptcy Court for the Southern District of New York’s Procedural Guidelines

for Filing Requests for Orders to Set the Last Date for Filing Proofs of Claim, updated as of

December 1, 2015 (the “Guidelines”), all persons and entities, (including, without limitation,

individuals, partnerships, corporations, joint ventures, trusts and governmental units) that assert a

claim, as defined in Section 101(5) of the Bankruptcy Code, against the Debtors which arose on

or prior to the filing of the Chapter 11 petitions on February 11, 2019 (the “Commencement

Date”), including claims asserted under section 503(b)(9) of the Bankruptcy Code, shall file a

proof of such claim in writing or electronically in accordance with the procedures below so that it

is received on or before April 1, 2019 (the “General Bar Date”).


          2.        Notwithstanding any other provision hereof, proofs of claim filed by governmental

units (as defined in section 101(27) of the Bankruptcy Code) must be filed on or before August

10, 2019 (the date that is one hundred eighty (180) days after the date of the order for relief) (the

“Governmental Bar Date”).


          3.        Notwithstanding any other provision hereof, claimants must file proofs of claim

with respect to amendments or supplements to the Debtors’ schedules of assets and liabilities (the

“Schedules”) on or before the later of (i) the General Bar Date or the Governmental Bar Date, as

applicable and (ii) 5:00 p.m. (Prevailing Eastern Time) on the date that is thirty (30) days from the

date on which the Debtors provide notice of previously unfiled Schedules (as defined herein) or

an amendment or supplement to the Schedules (the “Amended Schedules Bar Date”).


          4.        Notwithstanding any other provision hereof, any person or entity that holds a claim

that arises from the rejection of an executory contract or unexpired lease must file a proof of claim

based on such rejection on or before the later of (i) the General Bar Date or the Governmental Bar




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Date, as applicable, and (ii) 5:00pm (Prevailing Eastern Time) on the date that is thirty (30) days

after entry of the order authorizing such rejection (the “Rejection Damages Bar Date”, and

together with the General Bar Date, the Governmental Bar Date, and the Amended Schedules Bar

Date, the “Bar Dates”). For the avoidance of doubt, a counterparty to an executory contract or

unexpired lease is permitted to file a single proof of claim on account of its claims arising under

the applicable contract or lease agreement (including claims for prepetition defaults and rejection

damages) by the Rejection Damages Bar Date.


          5.        The (i) proposed notice of the Bar Dates, substantially in the form annexed hereto

as Exhibit 1 (the “Bar Date Notice”) and (ii) model proof of claim form (the “Claim Form”),

substantially in the form annexed hereto as Exhibit 2, are approved.


          6.        The following procedures for the filing of proofs of claim (the “Procedures”) shall

apply:

                    (a)       Proofs of claim must conform substantially to the Claim Form or Official

                              Bankruptcy Form No. 410 (the “Official Form”);2


                    (b)       Proofs of Claim must be filed electronically through the Epiq’s Proof of

                              Claim website for these cases at http://dm.epiq11.com/Ditech by following

                              instructions for filing proofs of claim electronically; (ii) by mailing the

                              original proof of claim either by U.S. Postal Service mail or overnight

                              delivery to Epiq’s Claims Processing Centers for the Debtors at (x) P.O.

                              Box 4421, Beaverton, OR 97076 or (y) 10300 SW Allen Blvd., Beaverton,



2
      The Official Form can be found at www.uscourts.gov/forms/bankruptcy-forms, the official website for the
      United States Bankruptcy Courts. The Claim Form can be found at http://http://dm.epiq11.com/Ditech, the
      website established by Epiq for the Debtors’ chapter 11 cases.



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                              OR 97005; or (iii) by delivering the original Proof of Claim by hand to (x)

                              the United States Bankruptcy Court for the Southern District of New York

                              at One Bowling Green, New York, NY 10004-1408 or (y) Epiq’s Claims

                              Processing Center for the Debtors at 10300 SW Allen Blvd., Beaverton, OR

                              97005 or (z) 777 Third Avenue, 12th Floor, New York, NY 10017;


                    (c)       Proofs of claim will be deemed filed only when received by the Clerk of the

                              Bankruptcy Court or by Epiq on or before the applicable Bar Date;


                    (d)       Proofs of claim must (i) be signed; (ii) include supporting documentation

                              (if voluminous, attach a summary) or an explanation as to why

                              documentation is not available; (iii) be in the English language; and, (iv) be

                              denominated in United States currency;


                    (e)       Proofs of claim must specify by name and case number the Debtor against

                              which the claim is filed. If the holder asserts a claim against more than one

                              Debtor or has claims against different Debtors, a separate proof of claim

                              form must be filed with respect to each Debtor. If the holder files a proof

                              of claim without identifying a Debtor, such proof of claim will be deemed

                              as filed only against Ditech Holding Corporation; and


                    (f)       Proofs of claim sent by facsimile, telecopy, or electronic mail transmission

                              will not be accepted.


          7.        The following persons or entities need not file a proof of claim on or prior to the

Bar Dates:

                    (a)       Any claim as to which the holder has already filed a proof of claim against


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                              the Debtors in the above-captioned case in a form substantially similar to

                              the Claim Form or the Official Form and otherwise in compliance with these

                              Procedures;


                    (b)       Any claim that is listed on the Schedules filed by the Debtors, provided that

                              (i) the claim is not scheduled as “disputed”, “contingent” or “unliquidated”;

                              and (ii) the claimant does not disagree with the amount, nature and priority

                              of the claim as set forth in the Schedules; and (iii) the claimant does not

                              dispute that the claim is an obligation of the specific Debtor against which

                              the claim is listed in the Schedules;


                    (c)       Any claim that heretofore has been allowed by Order of this Court;


                    (d)       Any claim that has been paid in full by any of the Debtors;


                    (e)       Any claim for which different specific deadlines have previously been fixed by

                              this Court;


                    (f)       Any claim by a Debtor against another Debtor;


                    (g)       Any claim that asserts an equity security interest in the Debtors, which

                              interest is based exclusively upon the ownership of common or preferred

                              units, membership interests, partnership interests, or warrants, options, or

                              rights to purchase, sell, or subscribe to such a security or interest; provided

                              that if any holder asserts such a claim (as opposed to an ownership interest)

                              against the Debtors (including a claim relating to an equity interest or the

                              purchase or sale of such equity interest), a proof of claim must be filed on




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                              or before the applicable Bar Date pursuant to the Procedures;


                    (h)       Any claim allowable under sections 503(b) and 507(a)(2) of the Bankruptcy

                              Code as an expense of administration (other than a claim arising under

                              section 503(b)(9) of the Bankruptcy Code);


                    (i)       Any claim limited exclusively to the repayment of principal, interest, fees,

                              expenses, and any other amounts owing under any agreements governing

                              any notes, bonds, debentures, or other debt securities (collectively, the

                              “Debt Securities”) (x) issued by any of the Debtors, (y) secured by assets

                              of any of the Debtors or agreements with respect to such assets, or (z)

                              secured by assets leased to any of the Debtors (a “Debt Claim”) pursuant

                              to an indenture or credit agreement, as applicable (together, the “Debt

                              Instruments”) if the relevant indenture trustee, administrative agent,

                              registrar, paying agent, loan or collateral agent, or any other entity serving

                              in a similar capacity however designated (each, a “Debt Agent”) under the

                              applicable Debt Instrument files a single proof of claim in the Debtors’ lead

                              chapter 11 case In re Ditech Holding Corporation (Case No. 19-____)

                              (___), on or before the applicable Bar Date, against all Debtors under the

                              applicable Debt Instrument on account of all Debt Claims; provided that

                              any holder of a Debt Claim wishing to assert a claim arising out of or

                              relating to a Debt Instrument, other than a Debt Claim, must file a proof of

                              claim with respect to such claim on or before the applicable Bar Date, unless

                              another exception identified herein applies; provided, further, that in lieu of

                              attaching voluminous documentation, including documentation for



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                              compliance with Bankruptcy Rule 3001(d), the Debt Agent under the Debt

                              Instrument may include a summary of the operative documents with respect

                              to the Debt Claims; or


                    (j)       Any claim held by the Prepetition Repo Facilities Parties, the Prepetition

                              1L/2L parties or any other person or entity that is not required to file a proof

                              of claim pursuant to a final order approving Debtors’ Motion for Interim

                              and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507,

                              546, 548, 555, 559, and 561 (A) Authorizing Debtors to Enter into

                              Repurchase Agreement Facilities, Servicer Advance Facilities and Related

                              Documents; (B) Authorizing Debtors to Sell Mortgage Loans and Servicer

                              Advance Receivables in the Ordinary Course of Business; (C) Granting

                              Back-Up Liens and Superpriority Administrative Expense Claims; (D)

                              Authorizing Use of Cash Collateral and Granting Adequate Protection; (E)

                              Modifying the Automatic Stay; (F) Scheduling a Final Hearing; and (G)

                              Granting Related Relief, as may be amended or superseded from time to

                              time (the “Final DIP Order”), solely with respect to the claims set forth in

                              the Final DIP Order.


          7.        Claims arising under section 503(b)(9) of the Bankruptcy Code must be filed by

the deadlines set forth in this Order.


          8.        Nothing in this Order shall prejudice the right of the Debtors or any other party in

interest to dispute or assert offsets or defenses to any claim reflected in the Schedules.


          9.        Pursuant to Bankruptcy Rule 3003(c)(2), all holders of claims that fail to comply



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with this Order by timely filing a proof of claim in appropriate form shall (i) be forever barred,

estopped, and enjoined from asserting such claims against the Debtors, their property, or their

estates (or submitting a proof of claim with respect thereto) and (ii) not be treated as a creditor

with respect to such claim for the purposes of voting and distribution with respect to any chapter

11 plan or plans of reorganization that may be filed in this cases.


          10.       The Debtors shall cause to be mailed (i) the Claim Form and (ii) the Bar Date Notice

which shall be deemed adequate and sufficient if served by first-class mail at least thirty-five (35)

days prior to the applicable Bar Date upon:

                    (a)       The United States Trustee;


                    (b)       counsel to each official committee;


                    (c)       all known creditors and other known holders of potential claims against any

                              of the Debtors’ estates;


                    (d)       all counterparties to the Debtors’ executory contracts and unexpired leases

                              at the addresses stated therein or as updated pursuant to a request by the

                              counterparty or by returned mail from the post office with a forwarding

                              address;


                    (e)       all parties to pending litigation against the Debtors (as of the date of the

                              entry of the Proposed Order);


                    (f)       all parties who have requested notice pursuant to Bankruptcy Rule 2002 (as

                              of the date of the entry of the Proposed Order);


                    (g)       the Internal Revenue Services for the district in which the case is pending



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                              and, if required by Bankruptcy Rule 2002(j), the Securities and Exchange

                              Commission and any other required governmental units (a list of such

                              agencies is available from the Office of the Clerk of the Court); and


                    (h)       such additional persons and entities as deemed appropriate by the Debtors.


          11.       Each Debt Agent, other than the DIP Credit Parties, the Prepetition Repo Facilities

Parties, and the Prepetition 1L/2L Parties (each as defined in the Final DIP Order)] shall provide

to Epiq a list of names and addresses of the record holders of the respective Debt Security for

which it serves as Debt Agent within five (5) business days after service of this Order on the Debt

Agent.


          12.       Pursuant to Bankruptcy Rule 2002(l) and the Guidelines, the Debtors shall publish

the Bar Date Notice, once in the national editions of The New York Times and USA Today at least

twenty-eight (28) days prior to the General Bar Date, which publication is hereby approved and

shall be deemed good, adequate and sufficient publication notice of the Bar Dates and the

Procedures for filing proofs of claim in these chapter 11 cases.


          13.       Any person or entity who desires to rely on the Schedules will have the

responsibility for determining that the claim is accurately listed in the Schedules.


          14.       The Debtors and Epiq are authorized and empowered to take such steps and perform

such acts as may be necessary to implement and effectuate the terms of this Order.


          15.       Entry of this Order is without prejudice to the right of the Debtors to seek a further

order of this Court fixing a date by which holders of claims or interests not subject to the Bar Dates

established herein must file such proofs of claim or interest or be barred from doing so.




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 Dated: _________________, 2019
        New York, New York


                                                UNITED STATES BANKRUPTCY JUDGE




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                                               Exhibit 1

                                          Bar Date Notice




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :       Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                                  Case No. 19-[_____] (___)
                                                               :
                                      1
                           Debtors.                            :       (Jointly Administered)
                                                               :
---------------------------------------------------------------X

                                     NOTICE OF DEADLINES
                              REQUIRING FILING OF PROOFS OF CLAIM

                The United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) has entered an order (the “Bar Date Order”) establishing April 1, 2019
at 5:00 p.m. (Prevailing Eastern Time) as the last date and time for each person (excluding
“governmental units,” as defined in section 101(27) of the Bankruptcy Code) to file a proof of
claim (such deadline, the “General Bar Date”) against any of the debtors listed below
(collectively, the “Debtors”).

                 The General Bar Date and the procedures set forth below for filing proofs of claim
apply to all claims against the Debtors that arose before February 11, 2019 (the “Commencement
Date”), the date on which the Debtors commenced cases under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”), including claims arising under section 503(b)(9) of the
Bankruptcy Code, and excluding claims held by those listed in Section 4 below that are specifically
excluded from the Bar Date filing requirement. “Governmental Units” (as defined in section
101(27) of the Bankruptcy Code) have until August 10, 2019 at 5:00 p.m. (Prevailing Eastern
Time), the date that is one-hundred and eighty (180) days after the order for relief (the
“Governmental Bar Date”), to file proofs of claim against the Debtors.

                  Counterparties to the Debtors’ executory contracts and unexpired leases have until
the later of (i) the General Bar Date and (ii) thirty (30) days after entry of the order authorizing the
rejection of such contract or lease (the “Rejection Damages Bar Date”), to file proofs of claim
for rejection damages against the Debtors.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
      Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
      Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
      Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
      Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
      (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
      Drive, Suite 100, Fort Washington, Pennsylvania 19034.




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                 With respect to amendments or supplements to the Debtors’ schedules of assets and
liabilities (the “Schedules”), claimants have until the later of (i) the General Bar Date or the
Governmental Bar Date, as applicable and (ii) 5:00 p.m. (Prevailing Eastern Time) on the date
that is thirty (30) days from the date on which the Debtors provide notice of previously unfiled
Schedules (as defined herein) or an amendment or supplement to the Schedules (the “Amended
Schedules Bar Date”), and together with the General Bar Date, the Governmental Bar Date, and
the Rejection Damages Bar Date, the “Bar Dates”), to file proofs of claim against the Debtors.

               The Bar Date Order, the Bar Dates, and the procedures set forth below for filing
proofs of claim apply to claims against any of the Debtors, as listed in the following table:


 NAME OF DEBTOR AND LAST FOUR DIGITS
                                                                      CASE NUMBER
 OF FEDERAL TAX IDENTIFICATION NUMBER
 DF Insurance Agency, LLC (6918)
 Ditech Financial LLC (5868)
 Ditech Holding Corporation (0486)
 Green Tree Credit LLC (5864)
 Green Tree Credit Solutions LLC (1565)
 Green Tree Insurance Agency of Nevada, Inc. (7331)
 Green Tree Investment Holdings III LLC (1008)
 Green Tree Servicing Corp. (3552)
 Marix Servicing LLC (6101)
 Mortgage Asset Systems, LLC (8148)
 REO Management Solutions, LLC (7787)
 Reverse Mortgage Solutions, Inc. (2274)
 Walter Management Holding Company LLC (9818)
 Walter Reverse Acquisition LLC (8837)
                   OTHER NAMES USED BY THE DEBTORS IN THE LAST 8 YEARS
 DTF Insurance Agency LLC                           Specialty Servicing Solutions
 DTFS Insurance Agency LLC                          Green Tree Licensing LLC
 Green Tree Servicing LLC
 RMS Asset Management Solutions, LLC
 REO Management Solutions, LLC
 RMS Asset Management Solutions, LLC
 Residential Asset Management Solutions, LLC
 Residential Asset Management Solutions
 RMS Reverse Mortgage Solutions, Inc.
 RMS Reverse Mortgage Solutions
 Security One Lending
 Security 1 Lending

1.        WHO MUST FILE A PROOF OF CLAIM

                You MUST file a proof of claim to vote on a chapter 11 plan filed by the Debtors
or to share in distributions from the Debtors’ bankruptcy estates if you have a claim that arose
before the Commencement Date, and it is not one of the types of claims described in Section 4
below. Claims based on acts or omissions of the Debtors that occurred before the Commencement
Date must be filed on or before the Bar Dates, even if such claims are not now fixed, liquidated or
certain or did not mature or become fixed, liquidated or certain before the Commencement Date.



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               Under section 101(5) of the Bankruptcy Code and as used in this notice, the word
“claim” means a right to (a) payment, whether or not such right is reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured, or unsecured; or (b) a right to an equitable remedy for breach of performance if such
breach gives rise to a right to payment, whether or not such right to an equitable remedy is reduced
to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.

2.        WHAT TO FILE

                Your filed proof of claim must conform substantially to Official Form 410 (the
“Official Form”). The Debtors are enclosing a case-specific proof of claim form for use in these
cases (the “Claim Form”). If your claim is listed on the schedules of assets and liabilities filed
by the Debtors (collectively, the “Schedules”), the proof of claim form also sets forth the amount
of your claim as listed on the Schedules, the specific Debtor against which the claim is scheduled,
and whether the claim is scheduled as “disputed,” “contingent,” or “unliquidated.” You will
receive a different proof of claim form for each claim listed in your name on the Schedules. You
may utilize the proof of claim form(s) provided by the Debtors to file your claim. Additional proof
of claim forms and instructions may be obtained at (a) the website established by the Debtors’
Court-approved claims and noticing agent, Epiq Corporate Restructuring, LLC, located at
http://dm.epiq11.com/Ditech or (b) the Bankruptcy Court’s website located at
www.uscourts.gov/forms/bankruptcy-forms.

               All proof of claim forms must be signed by the claimant or, if the claimant is not
an individual, by an authorized agent of the claimant. It must be written in English and be
denominated in United States currency (using the exchange rate, if applicable, as of the
Commencement Date). You also should attach to your completed proof of claim any documents
on which the claim is based (if voluminous, attach a summary) or explanation as to why the
documents are not available.

                Your proof of claim form must not contain complete social security numbers or
taxpayer identification numbers (only the last four (4) digits), a complete birth date (only the year),
the name of a minor (only the minor’s initials), or a financial account number (only the last four
(4) digits of such account number).

            IF YOU ARE ASSERTING A CLAIM AGAINST MORE THAN ONE DEBTOR OR
HAVE CLAIMS AGAINST DIFFERENT DEBTORS, SEPARATE PROOFS OF CLAIM MUST BE
FILED AGAINST EACH SUCH DEBTOR AND YOU MUST IDENTIFY ON YOUR PROOF OF
CLAIM THE SPECIFIC DEBTOR AGAINST WHICH YOUR CLAIM IS ASSERTED AND THE CASE
NUMBER OF THAT DEBTOR’S BANKRUPTCY CASE. IF YOU FILE A PROOF OF CLAIM
WITHOUT IDENTIFYING A DEBTOR, SUCH PROOF OF CLAIM WILL BE DEEMED AS FILED
ONLY AGAINST DITECH HOLDING CORPORATION. A LIST OF THE NAMES OF THE DEBTORS
AND THEIR CASE NUMBERS IS SET FORTH ABOVE.




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3.        WHEN AND WHERE TO FILE

               All proofs of claim must be filed so as to be received on or before April 1, 2019
at 5:00 p.m. (Prevailing Eastern Time) (for all persons except Governmental Units) or August
10, 2019 at 5:00 p.m. (Prevailing Eastern Time) (for all Governmental Units) as follows:

IF BY U.S. POSTAL SERVICE MAIL OR OVERNIGHT DELIVERY:

          Ditech Holding Corporation, Claims Processing Center
          c/o Epiq Bankruptcy Solutions, LLC
          P.O. Box 4421
          Beaverton, OR 97076-4421

          Ditech Holding Corporation, Claims Processing Center
          c/o Epiq Bankruptcy Solutions, LLC
          10300 SW Allen Blvd.
          Beaverton, OR 97005

IF DELIVERED BY HAND:

          Ditech Holding Corporation, Claims Processing Center
          c/o Epiq Bankruptcy Solutions, LLC
          777 Third Avenue
          12th Floor
          New York, NY 10017

          Ditech Holding Corporation, Claims Processing Center
          c/o Epiq Bankruptcy Solutions, LLC
          10300 SW Allen Blvd.
          Beaverton, OR 97005

          United States Bankruptcy Court
          for the Southern District of New York
          One Bowling Green
          New York, NY 1004-1408

IF ELECTRONICALLY:

          The website established by Epiq, using the interface available on such website located at
          http:// http://dm.epiq11.com/Ditech (the “Electronic Filing System”) and following the
          instructions provided.

               Proofs of claim will be deemed filed only when actually received at the addresses
listed above or via the Electronic Filing System on or before the applicable Bar Date. Proofs of
claim may not be delivered by facsimile, telecopy, or electronic mail transmission.




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4.        WHO NEED NOT FILE A PROOF OF CLAIM

               The following persons or entities need not file a proof of claim on or prior to the
applicable Bar Date:

                    (a) any claim that has already been asserted in a proof of claim against the Debtors
                        in the above-captioned case in a form substantially similar to the Claim Form
                        or the Official Form and otherwise in compliance with the procedures set forth
                        in this notice;

                    (b) any claim that is listed on the Schedules filed by the Debtors, provided that (i)
                        the claim is not scheduled as “disputed”, “contingent” or “unliquidated”; and
                        (ii) the claimant does not disagree with the amount, nature and priority of the
                        claim as set forth in the Schedules; and (iii) the claimant does not dispute that
                        the claim is an obligation of the specific Debtor against which the claim is listed
                        in the Schedules;

                    (c) any claim that heretofore has been allowed by Order of the Court;

                    (d) any claim that has been paid in full by any of the Debtors;

                    (e) any claim for which a different deadline has previously been fixed by the Court;

                    (f) any claim by a Debtor against another Debtor;

                    (g) any claim that asserts an equity security interest in the Debtors, which interest
                        is based exclusively upon the ownership of common or preferred units,
                        membership interests, partnership interests, or warrants, options, or rights to
                        purchase, sell, or subscribe to such a security or interest; provided that if any
                        holder asserts such a claim (as opposed to an ownership interest) against the
                        Debtors (including a claim relating to an equity interest or the purchase or sale
                        of such equity interest), a proof of claim must be filed on or before the
                        applicable Bar Date pursuant to the procedures set forth in this notice;

                    (h) any claim allowable under sections 503(b) and 507(a)(2) of the Bankruptcy
                        Code as an expense of the administration (other than a claim arising under
                        section 503(b)(9) of the Bankruptcy Code);

                    (i) any claim limited exclusively to the repayment of principal, interest, fees,
                        expenses, and any other amounts owing under any agreements governing any
                        notes, bonds, debentures, or other debt securities (collectively, the “Debt
                        Securities”) (x) issued by any of the Debtors, (y) secured by assets of any of
                        the Debtors or agreements with respect to such assets, or (z) secured by assets
                        leased to any of the Debtors (a “Debt Claim”) pursuant to an indenture or credit
                        agreement, as applicable (together, the “Debt Instruments”) if the relevant
                        indenture trustee, administrative agent, registrar, paying agent, loan or



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                         collateral agent, or any other entity serving in a similar capacity however
                         designated (each, a “Debt Agent”) under the applicable Debt Instrument files
                         a single proof of claim in the Debtors’ lead chapter 11 case Ditech Holding
                         Corporation (Case No. _____) (___), on or before the applicable Bar Date,
                         against all Debtors under the applicable Debt Instrument on account of all Debt
                         Claims; provided that any holder of a Debt Claim wishing to assert a claim
                         arising out of or relating to a Debt Instrument, other than a Debt Claim, must
                         file a proof of claim with respect to such claim on or before the applicable Bar
                         Date, unless another exception identified herein applies; or

                    (j) Any claim held by the Prepetition Repo Facilities Parties, the Prepetition 1L/2L
                        Parties or any other person or entity that is not required to file a proof of claim
                        pursuant to a final order approving the Debtors’ Motion for Interim and Final
                        Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507, 546, 548, 555,
                        559, and 561 (A) Authorizing Debtors to Enter into Repurchase Agreement
                        Facilities, Servicer Advance Facilities and Related Documents; (B) Authorizing
                        Debtors to Sell Mortgage Loans and Servicer Advance Receivables in the
                        Ordinary Course of Business; (C) Granting Back-Up Liens and Superpriority
                        Administrative Expense Claims; (D) Authorizing Use of Cash Collateral and
                        Granting Adequate Protection; (E) Modifying the Automatic Stay; (F)
                        Scheduling a Final Hearing; and (G) Granting Related Relief, as may be
                        amended or superseded from time to time (the “Final DIP Order”), arising
                        from or relating to any of the Prepetition Repo Facilities Parties or the
                        Prepetition 1L/2L Documents, as applicable (each of the foregoing as defined
                        in the Final DIP Order).

                This notice may be sent to many persons that have had some relationship with or
have done business with the Debtors but may not have an unpaid claim against the Debtors. The
fact that you have received this notice does not mean that you have a claim or that the Debtors or
the Bankruptcy Court believe that you have a claim against the Debtors.

5.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES

              If you hold a claim arising out of the rejection of an executory contract or unexpired
lease, you must file a proof of claim on or before the Rejection Damages Bar Date. For the
avoidance of doubt, a party to an executory contract or unexpired lease that asserts a claim on
account of unpaid amounts accrued and outstanding as of the Commencement Date pursuant to
such executory contract or unexpired lease is permitted to file a single proof of claim for such
amounts and rejection damages on or before the Rejection Damages Bar Date.

6.        CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE BAR
          DATE

          ANY HOLDER OF A CLAIM THAT IS NOT EXEMPTED FROM THE
REQUIREMENTS OF THE BAR DATE ORDER, AS SET FORTH IN SECTION 4 ABOVE,
AND THAT FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPRIATE FORM



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SHALL NOT BE TREATED AS A CREDITOR WITH RESPECT TO SUCH CLAIM FOR THE
PURPOSES OF VOTING ON ANY PLAN OF REORGANIZATION FILED IN THESE CASES
AND PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’ CASES ON
ACCOUNT OF SUCH CLAIM.


7.        THE DEBTORS’ SCHEDULES AND ACCESS THERETO

                You may be listed as a holder of a claim against one or more of the Debtors in the
Debtors’ Schedules. To determine if and how you are listed on the Schedules, please refer to the
descriptions set forth on the enclosed proof of claim form(s) regarding the nature, amount, and
status of your claim(s). If you received postpetition payments from the Debtors (as authorized by
the Bankruptcy Court) on account of your claim(s), the enclosed proof of claim form(s) should
reflect the net amount of your claim(s). If the Debtors believe that you hold claims against more
than one Debtor, you will receive multiple proof of claim forms, each of which will reflect the
nature and amount of your claim against one Debtor, as listed in the Schedules.

           IF YOU RELY ON THE DEBTORS’ SCHEDULES OR THE ENCLOSED
PROOF OF CLAIM FORM(S), IT IS YOUR RESPONSIBILITY TO DETERMINE THAT THE
CLAIM ACCURATELY IS LISTED ON THE SCHEDULES.

                As set forth above, if you agree with the nature, amount, and status of your claim
as listed in the Debtors’ Schedules, and if you do not dispute that your claim only is against the
Debtor specified by the Debtors, and if your claim is not described as “disputed,” “contingent,” or
“unliquidated,” you need not file a proof of claim. Otherwise, or if you decide to file a proof of
claim, you must do so before the applicable Bar Date, in accordance with the procedures set forth
in this notice.

                Copies of the Debtors’ Schedules are available for inspection on the Bankruptcy
Court’s electronic docket for the Debtors’ chapter 11 cases, which is posted on (a) the website
established by Epiq for the Debtors’ cases at http://dm.epiq11.com/Ditech and (b) on the Court’s
website at http://www.nysb.uscourts.gov. A login and password to the Bankruptcy Court’s Public
Access to Electronic Records (“PACER”) are required to access this information on the Court’s
website and can be obtained through the PACER Service Center at http://www.pacer.gov. Copies
of the Schedules also may be examined between the hours of 9:00 a.m. and 4:30 p.m., Monday
through Friday at the Office of the Clerk of the Bankruptcy Court, located at One Bowling Green,
New York, NY 10004-1408. Copies of the Debtors’ Schedules also may be obtained by request
to Epiq:

                              Ditech Holding Corporation, Claims Processing Center
                                          c/o Epiq Bankruptcy Solutions, LLC
                                              777 Third Avenue, 12th Floor
                                                  New York, NY 10017
                                            Toll Free: (866)-486-4809
                                     E-mail: ProjectPhoenix@epiqglobal.com




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A holder of a possible claim against the Debtors should consult an attorney regarding any
matters not covered by this notice, such as whether the holder should file a proof of claim.


Dated: ______________, 2019                     BY ORDER OF THE COURT
       New York, New York




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                                                Exhibit 2

                                               Claim Form




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 United States Bankruptcy Court for
            19-10412-jlg            the Southern
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                                                    02/11/19                                                 06:07:55           Main Document
 Ditech Holding Corporation Claims Processing Center               Pg 38 of 40
 c/o Epiq Bankruptcy Solutions, LLC
 P.O. Box 4421
 Beaverton, OR 97076-4421
 Name of Debtor:
 Case Number:
                                                                                                       For Court Use Only




 Proof of Claim (Official Form 410)                                                                                                                04/16
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of claims
under 503(b)(9), do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.
Part 1:      Identify the Claim
1. Who is the current creditor?
Name of the current creditor (the person or entity to be paid for this claim): _______________________________________________________________________

Other names the creditor used with the debtor: _______________________________________________________________________________________________

2.   Has this claim been acquired from someone else?       □ No □ Yes.        From whom? ___________________________________________________________
3.   Where should notices and payments to the creditor be sent? Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)            4. Does this claim amend one already filed?

Where should notices to the creditor be sent?                      Where should payments to the creditor be sent?              □ No
                                                                   (if different)
                                                                                                                               □ Yes.       Claim number on court
__________________________________________________                 ______________________________________________              claims register (if known) _______________
Name                                                               Name
                                                                                                                               Filed on _____________________________
__________________________________________________                 ______________________________________________                             MM / DD / YYYY
Number     Street                                                  Number     Street
                                                                                                                               5. Do you know if anyone else has filed a
__________________________________________________                 ______________________________________________
                                                                                                                               proof of claim for this claim?
City                 State        ZIP Code                         City                 State        ZIP Code
                                                                                                                               □ No
Country (if International): _____________________________          Country (if International): _________________________
                                                                                                                               □ Yes.      Who made the earlier filing?
Contact phone: _____________________________________               Contact phone: _________________________________
                                                                                                                                ____________________________________
Contact email: _____________________________________               Contact email: _________________________________
Part 2:      Give Information About the Claim as of the Date the Case Was Filed
6. Do you have any number you use to            7. How much is the claim?                             8. What is the basis of the claim?
   identify the debtor?
□ No                                            $________________________________________.
                                                                                                      Examples: Goods sold, money loaned, lease, services performed,
                                                                                                      personal injury or wrongful death, or credit card. Attach redacted
□ Yes.                                          Does this amount include interest or other
                                                                                                      copies of any documents supporting the claim required by Bankruptcy
Last 4 digits of the debtor’s account or any                                                          Rule 3001(c). Limit disclosing information that is entitled to privacy,
                                                charges?
number you use to identify the debtor:                                                                such as health care information.
                                                □ No
     ____ ____ ____ ___                         □ Yes.   Attach statement itemizing interest, fees,
                                                                                                      _________________________________________________________
                                                         expenses, or other charges required by
                                                         Bankruptcy Rule 3001(c)(2)(A).
9. Is all or part19-10412-jlg
                  of the claim secured?                              10. Is this claim based on a lease? 11. Is this claim subjectDocument
                                                                                                                                   to a right of setoff?
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□ No                                                                 □ NoPg 39 of 40                     □ No
□ Yes.    The claim is secured by a lien on property.                     □  Yes. Amount necessary to cure           □ Yes. Identify the property:
                                                                          any default as of the date of petition.
Nature of property:
□ Real estate. If the claim is secured by the debtor’s principal          $_____________________________               ___________________________________________

residence, file a Mortgage Proof of Claim Attachment (official Form       12. Is all or part of the claim entitled to priority         A claim may be partly priority and
410-A) with this Proof of Claim.                                              under 11 U.S.C. § 507(a)?                                partly nonpriority. For example, in
                                                                                                                                       some categories, the law limits the
□ Motor vehicle                                                           □   No
                                                                                                                                       amount entitled to priority.

□ Other. Describe: ______________________________________                 □ Yes. Check one:                                             Amount entitled to priority
_______________________________________________________
Basis for perfection: _____________________________________
                                                                          □ Domestic support obligations (including alimony and         $_____________________
                                                                          child support) under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
_______________________________________________________
Attach redacted copies of documents, if any, that show evidence of        □  Up to $2,850* of deposits toward purchase, lease, or       $_____________________
perfection of security interest (for example, a mortgage, lien,           rental of property or services for personal, family, or
certificate of title, financing statement, or other document that         household use. 11 U.S.C. § 507(a)(7).
shows the lien has been filed or recorded.)
                                                                          □   Wages, salaries, or commissions (up to $12,850*)
                                                                                                                                        $_____________________
Value of property:                        $_____________________          earned within 180 days before the bankruptcy petition is
                                                                          filed or the debtor’s business ends, whichever is earlier.
Amount of the claim that is secured:      $_____________________          11 U.S.C. § 507(a)(4).                                        $_____________________
                                                                          □ Taxes or penalties owed to governmental units.
Amount of the claim that is unsecured: $_____________________
                                                                          11 U.S.C. § 507(a)(8).
(The sum of the secured and unsecured amounts should match the                                                                          $_____________________
amount in line 7.)                                                        □ Contributions to an employee benefit plan. 11 U.S.C. §
                                                                          507(a)(5).
Amount necessary to cure any                                                                                                            $_____________________
default as of the date of the petition: $_____________________            □ Other. Specify subsection of 11 U.S.C. § 507 (a)(__)
                                                                          that applies.
Annual Interest Rate (when case was filed)       ______________%          * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or
                                             □ Fixed      □
                                                         Variable
                                                                          after the date of adjustment.

13. Does this claim qualify as an Administrative Expense under 11 U.S.C. § 503(b)(9)?
□ No
□ Yes. Amount that qualifies as an Administrative Expense under 11 U.S.C. § 503(b)(9): $_____________________________
Part 3:      Sign Below
The person completing          Check the appropriate box:
this proof of claim must
sign and date it. FRBP
                               □    I am the creditor.

9011(b).                       □    I am the creditor’s attorney or authorized agent.
                               □    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim
electronically, FRBP
                               □    I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 3005.
5005(a)(2) authorizes          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim,
courts to establish local      the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a
signature is.                  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
                               I declare under penalty of perjury that the foregoing is true and correct.
A person who files a
fraudulent claim could be
fined up to $500,000,          Executed on date          __________________       ____________________________________________________________
imprisoned for up to 5                                     MM / DD / YYYY          Signature
years, or both. 18 U.S.C.
§§ 152, 157, and 3571.         Print the name of the person who is completing and signing this claim:

                               Name        ____________________________________________________________________________________________
                                           First name                 Middle name                Last name

                               Title       ____________________________________________________________________________________________

                               Company ____________________________________________________________________________________________
                                       Identify the corporate servicer as the company if the authorized agent is a servicer.

                               Address     ____________________________________________________________________________________________
                                           Number            Street

                                           ____________________________________________________________________________________________
                                           City                                         State             ZIP Code

                               Contact Phone _____________________________________                 Email __________________________________________
 Instructions for Proof
         19-10412-jlg   of5Claim
                      Doc    Filed 02/11/19                                     Entered 02/11/19 06:07:55                        Main Document
 United States Bankruptcy Court                                                Pg 40 of 40
 These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors do not file voluntarily,
 exceptions to these general rules may apply. You should consider obtaining the advice of an attorney, especially if you are unfamiliar with the
 bankruptcy process and privacy regulations.
A person who files a fraudulent claim could be fined up to $500,000 imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157 and 3571
How to fill out this form                                                       Understand the terms used in this form

    Fill in all of the information about the claim as of the date the          Administrative expense: Generally, an expense that arises after a bankruptcy case is filed in
     case was filed.                                                            connection with operating, liquidating, or distributing the bankruptcy estate. 11 U.S.C. § 503.
    Fill in the caption at the top of the form. The full list of debtors is    Claim: A creditor’s right to receive payment for a debt that the debtor owed on the date the
     provided under the overview section on the Claims Agent’s                  debtor filed for bankruptcy. 11 U.S.C. §101 (5). A claim may be secured or unsecured.
     website: http://dm.epiq11.com/Ditech.                                      Creditor: A person, corporation, or other entity to whom a debtor owes a debt that was
    If the claim has been acquired from someone else, then state               incurred on or before the date the debtor filed for bankruptcy. 11 U.S.C. §101 (10).
     the identity of the last party who owned the claim or was the              Debtor: A person, corporation, or other entity who is in bankruptcy. Use the debtor’s name
     holder of the claim and who transferred it to you before the               and case number as shown in the bankruptcy notice you received. 11 U.S.C. § 101 (13).
     initial claim was filed.                                                   Evidence of perfection: Evidence of perfection of a security interest may include documents
    Attach any supporting documents to this form. Attach redacted              showing that a security interest has been filed or recorded, such as a mortgage, lien, certificate
     copies of any documents that show that the debt exists, a lien             of title, or financing statement.
     secures the debt, or both. (See the definition of redaction below.)        Information that is entitled to privacy: A Proof of Claim form and any attached documents
     Also attach redacted copies of any documents that show                     must show only the last 4 digits of any social security number, an individual’s tax identification
     perfection of any security interest or any assignments or transfers        number, or a financial account number, only the initials of a minor’s name, and only the year
     of the debt. In addition to the documents, a summary may be                of any person’s date of birth. If a claim is based on delivering health care goods or services,
     added. Federal Rule of Bankruptcy Procedure (called                        limit the disclosure of the goods or services to avoid embarrassment or disclosure of
     “Bankruptcy Rule”) 3001(c) and (d).                                        confidential health care information. You may later be required to give more information if the
    Do not attach original documents because attachments may be                trustee or someone else in interest objects to the claim.
     destroyed after scanning.                                                  Priority claim: A claim within a category of unsecured claims that is entitled to priority under
    If the claim is based on delivering health care goods or services,         11 U.S.C. §507(a). These claims are paid from the available money or property in a bankruptcy
     do not disclose confidential health care information. Leave out            case before other unsecured claims are paid. Common priority unsecured claims include
                                                                                alimony, child support, taxes, and certain unpaid wages.
     or redact confidential information both in the claim and in the
     attached documents.                                                        Proof of claim: A form that shows the amount of debt the debtor owed to a creditor on the
    A Proof of Claim form and any attached documents must show                 date of the bankruptcy filing. The form must be filed in the district where the case is pending.
     only the last 4 digits of any social security number, individual’s         Redaction of information: Masking, editing out, or deleting certain information to protect
     tax identification number, or financial account number, and                privacy. Filers must redact or leave out information entitled to privacy on the Proof of Claim
     only the year of any person’s date of birth. See Bankruptcy Rule           form and any attached documents.
     9037.                                                                      Secured claim under 11 U.S.C. §506(a): A claim backed by a lien on particular property of the
    For a minor child, fill in only the child’s initials and the full name     debtor. A claim is secured to the extent that a creditor has the right to be paid from the
     and address of the child’s parent or guardian. For example,                property before other creditors are paid. The amount of a secured claim usually cannot be
     write A.B., a minor child (John Doe, parent, 123 Main St, City,            more than the value of the particular property on which the creditor has a lien. Any amount
                                                                                owed to a creditor that is more than the value of the property normally may be an unsecured
     State). See Bankruptcy Rule 9037.
                                                                                claim. But exceptions exist; for example, see 11 U.S.C. § 1322(b) and the final sentence of
Confirmation that the claim has been filed                                      1325(a).
To receive confirmation that the claim has been filed, either enclose a         Examples of liens on property include a mortgage on real estate or a security interest in a car.
stamped self-addressed envelope and a copy of this form or you may              A lien may be voluntarily granted by a debtor or may be obtained through a court proceeding.
access the Claims Agent’s website (http://dm.epiq11.com/Ditech) to              In some states, a court judgment may be a lien.
view your filed form under “Claims.”                                            Setoff: Occurs when a creditor pays itself with money belonging to the debtor that it is
                                                                                holding, or by canceling a debt it owes to the debtor.
Where to Send Proof of Claim Form
First-Class Mail:                                                               Uniform claim identifier: An optional 24-character identifier that some creditors use to
                                                                                facilitate electronic payment.
Ditech Holding Corporation Claims Processing Center
                                                                                Unsecured claim: A claim that does not meet the requirements of a secured claim. A claim
c/o Epiq Corporate Restructuring, LLC
                                                                                may be unsecured in part to the extent that the amount of the claim is more than the value of
PO Box 4421                                                                     the property on which a creditor has a lien.
Beaverton, OR 97076-4421
                                                                                Offers to purchase a claim

Hand Delivery or Overnight Mail:                                                Certain entities purchase claims for an amount that is less than the face value of the claims.
Ditech Holding Corporation Claims Processing Center                             These entities may contact creditors offering to purchase their claims. Some written
                                                                                communications from these entities may easily be confused with official court documentation
c/o Epiq Corporate Restructuring, LLC
                                                                                or communications from the debtor. These entities do not represent the bankruptcy court, the
10300 SW Allen Blvd.                                                            bankruptcy trustee, or the debtor. A creditor has no obligation to sell its claim. However, if a
Beaverton, OR 97005                                                             creditor decides to sell its claim, any transfer of that claim is subject to Bankruptcy Rule
                                                                                3001(e), any provisions of the Bankruptcy Code (11 U.S.C. § 101 et seq.) that apply, and any
                                                                                orders of the bankruptcy court that apply.




 Do not file these instructions with your form.
